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                                           No. 22-184



                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT
                                 ____________________

                           IN RE: MARRIOTT INTERNATIONAL, INC.
                        CUSTOMER DATA SECURITY BREACH LITIGATION
                                  ____________________

                              On Petition for Permission to Appeal
                from the United States District Court for the District of Maryland,
                               MDL No. 19-md-2879 (Grimm, J.)
                                    ____________________

                   RESPONDENTS’ ANSWER IN OPPOSITION TO
              PETITION FOR INTERLOCUTORY APPEAL PURSUANT TO
                    FEDERAL RULE OF CIVIL PROCEDURE 23(f)
                                     ____________________


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        June 14, 2022
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                         CORPORATE DISCLOSURE STATEMENT
              Pursuant to Fed. R. App. P. 26.1 and Local Rule 26.1, Respondents make the
        following disclosure:
           • Respondents are all natural persons.

           • The publicly held corporations or entities that have a direct financial interest

              in this litigation are identified in Petitioners’ disclosures, and quoted in

              pertinent part below:

                    “Petitioner Marriott International, Inc. certifies that Marriott
                    International, Inc. (NASDAQ: MAR) is a publicly owned
                    company and that no public corporation or entity owns 10% or
                    more of Marriott International, Inc.’s stock.”

              (Case 22-184, Marriott Pet. at i).
                    “Accenture LLP certifies that it is not a publicly held corporation
                    and no publicly held corporation owns more than ten percent of
                    its stock. Accenture LLP is a wholly owned subsidiary of
                    Accenture plc, a publicly traded corporation. Accenture is not
                    aware of any publicly held corporation that owns more than ten
                    percent of Accenture plc stock.”

              (Case 22-181, Accenture Pet. at C-1).
           • This case does not arise out of a bankruptcy proceeding.

           • This is not a criminal case in which there was an organizational victim.




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                                         INTRODUCTION

              Marriott’s Rule 23(f) petition should be denied. This Court’s precedent

        requires “careful and sparing use of Rule 23(f),” recognizing the District Court’s

        “institutional advantage” in “managing the course of litigation,” as well as this

        Court’s “limited capacity” for interlocutory review. Lienhart v. Dryvit Sys., Inc., 255

        F.3d 138, 145 (4th Cir. 2001). This is particularly true here, where the District Court

        issued a thorough, fact-bound 73-page class certification order that explicitly calls

        for additional discovery and expert reports related to Plaintiffs’ damages theories.

        Marriott does not seriously contend that the decision is dispositive or that it

        implicates unsettled or novel questions about the meaning of Rule 23 that are likely

        to matter to other cases. Moreover, Marriott concedes that the District Court stands

        ready to issue another class certification order that may modify (or even decertify)

        the classes. Therefore, even if Marriott’s petition raised potential errors now (it does

        not), it would be premature and unfit for an interlocutory appeal.

              Marriott hangs its entire petition on the claim that the certification order is

        “manifestly erroneous.” But this case does not come close to the “extreme case[]” in

        which that high bar is satisfied—a case in which “decertification is a functional

        certainty.” Lienhart, 255 F.3d at 145. Marriott ultimately fails to show that the

        District Court abused its broad discretion, much less that the court’s certification

        order was “manifestly erroneous.”

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              Marriott’s lead argument is that the District Court manifestly erred by

        deferring decision on the merits of one of Marriott’s common defenses until a later

        stage—the applicability of a purported contractual class-action waiver. Marriott cites

        no published case that requires this state-law issue to be decided at class certification.

        Nor does anything in Rule 23 require that result. Moreover, although Marriott will

        later have the opportunity to make its argument to the district court, Marriott cannot

        show that: (1) it has preserved the argument (having failed to develop it for years);

        and (2) the clauses apply and are enforceable under state law. And even if Marriott

        could make both showings, this is a merits issue under Rule 23—and a common one

        at that—not an issue that requires resolution in an interlocutory appeal at class

        certification. Rule 23(f) is not a vehicle for piecemeal appeals about the sequence

        for addressing the enforceability and potential waiver of common-law contractual

        provisions. Just the opposite: “Rule 23(f) should not be a vehicle for courts of

        appeals to micro-manage complex class action as it unfolds in the district court.”

        Prado-Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1273 (11th Cir. 2000).

              Marriott’s next “manifestly erroneous” argument is that the classes are not

        ascertainable. But the District Court spent seven pages conducting a “fact-specific

        analysis,” and concluded that the classes are ascertainable because they are defined

        by objective criteria and determining class membership in the claims process will be




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        administratively feasible. App. 11-18.1 It held that Marriott’s own records provide a

        “strong starting point” for identifying class members, and should it be necessary for

        proposed class members to provide additional evidence of class membership, that

        evidence could take the form of other records or sworn affidavits. Marriott’s

        arguments about class membership ring especially hollow because the issue does not

        affect its liability; it only impacts who is entitled to receive damages for a particular

        claim. It has been the law for nearly a hundred years that “the fact of subsequent

        reimbursement” is not “of any concern to the wrongdoer[].” Adams v. Mills, 286

        U.S. 397, 407 (1932). And the District Court is always free to revisit its conclusions

        at a later stage—including its view that proof showing no reimbursement is

        necessary in the first place. See, e.g., S. Pac. Co. v. Darnell-Taenzer Co. 245 U.S.

        531, 533-34 (1918) (“[The] general tendency of the law, in regard to damages at

        least, is not to go beyond the first step,” so where “plaintiffs suffered losses … when

        they paid,” their “claim .... accrued at once,” and the law “does not inquire into later

        events [such as reimbursement].”).

              Finally, Marriott argues that plaintiffs’ expert’s damages model violates

        Comcast Corp. v. Behrend, 569 U.S. 27 (2013), which requires that “[a] plaintiff’s

        damages case must be consistent with its liability case.” Id. at 35. Plaintiffs satisfy

        Comcast because, as the District Court noted, the same model will be used in the


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              “App.” refers to Marriott’s Appendix, No. 22-184.
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        same way to determine damages for every class member. Marriott’s argument is

        really that the District Court misapplied Daubert—an argument outside the scope of

        Rule 23(f). Moreover, the District Court’s extensive Daubert analysis explained why

        plaintiffs’ damages model is sufficiently reliable for class certification. App. 47-52.

        That fact-sensitive holding does not warrant the extraordinary remedy of an

        interlocutory appeal.

              Finally, the class certification order explicitly contemplates that Marriott will

        produce additional discovery relevant to both of Plaintiffs’ damages theories. As to

        the “benefit of the bargain” theory, the Daubert order contemplates Marriott

        producing its entire customer database to Plaintiffs’ expert, Plaintiffs’ expert running

        his calculations for the class and submitting a supplemental report, Defendant’s

        expert submitting her own supplemental report, and then “limited briefing on the

        admissibility of Dr. Prince’s overpayment damages” before a “final ruling.” Daubert

        Order at 5-6. As to Plaintiffs’ “loss of inherent value” theory, the class certification

        order denied that theory without prejudice and noted that there was an

        “undeveloped” record about Marriott’s own valuation of customer data. Class Cert.

        Order at 33-34. Following a status conference, the parties are currently in the process

        of briefing what discovery Plaintiffs will be entitled to as the case proceeds. ECF

        No. 1035. Thus review is premature. Prado-Steiman, 221 F.3d at 1273 (“We should

        err, if at all, on the side of allowing the District Court an opportunity to fine-tune its

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        class certification order rather than opening the door too widely to interlocutory

        appellate review.”).

                                   FACTUAL BACKGROUND

               Marriott acquired Starwood Hotels and Resorts (“Starwood”) in September

        2016. App. 2. From at least July 2014 to September 2018, hackers had access to

        Starwood’s guest information database, the New Data Storage database (“NDS”).

        App. 3. The hackers exported customers’ personally identifiable information. Id. On

        September 8, 2018, Marriott discovered the breach when its long-time security

        consultant, Accenture, reported an anomaly pertaining to the NDS. Id. The breach

        impacted approximately 133.7 million guest records associated with the United

        States. Id.

               Plaintiffs-Respondents are consumers who provided their PII to Marriott to

        stay at a Starwood property or use Starwood’s services before the data breach. Id.

        Beginning in December 2018, Plaintiffs filed suit alleging that Marriott, its

        predecessor (Starwood), and Accenture are liable for the data breach under theories

        of contract, tort, and breach of statutory duties. App. 3. With the support of all

        parties, these cases were consolidated pursuant to multi-district litigation rules in the

        District of Maryland. Marriott supported transferring the cases to a single MDL

        because “[t]he related actions all arise out of, and share fact questions concerning

        the same data security incident.” App. 114. Marriott also noted that the MDL Panel

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        consistently determined that “actions arising out of the same cybersecurity incident

        present common fact questions.” App. 117. On July 12, 2021, Plaintiffs moved to

        certify thirteen damages classes and subclasses under Rule 23(b)(3), various liability

        issues under Rule 23(c)(4), and a class for injunctive or declaratory relief under Rule

        23(b)(2).

              On May 3, 2022, in a 73-page opinion, the District Court held that Plaintiffs

        satisfied Rule 23’s requirements and certified select 23(b)(3) classes and 23(c)(4)

        classes, denied certification of other classes based upon Michigan law, and denied,

        without prejudice, the loss of market value theory classes and injunctive class. App.

        70-72. The District Court redefined Plaintiffs’ damages classes by limiting them to

        those who bore the economic burden for hotel stays. App. 9-11. The District Court

        also observed that “Defendants will raise further challenges to the class

        representatives’ standing,” but such challenges should “wait until the summary

        judgment stage.” App. 7. The District Court concluded that Plaintiffs have satisfied

        the objective criteria component because “[n]either the originally proposed class

        definitions nor the court-modified class definitions rely on subjective terms.” App.

        12. The District Court concluded that “Plaintiffs have satisfied the ascertainability

        requirement” because “an individual’s very presence in [Marriott’s] database

        indicates their membership in the class.” App. 14. Furthermore, membership is

        subject to verification and any gaps or outdated information may be filled with

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        Marriott’s current customer data. App. 14-15. The District Court considered, and

        rejected, Defendants’ argument that there is no way to identify those who bore the

        economic burden. App. 15-18. The District Court acknowledged a review of

        individual files would be required, but that such review was “administratively

        feasible and not the kind of administrative review that would preclude

        ascertainability.” App. 17.

                                       LEGAL STANDARD

              This Court adopted the Eleventh Circuit’s five-factor test for determining

        whether to grant a Rule 23(f) Petition. It considers: (1) whether the certification

        ruling is likely dispositive of the litigation; (2) whether the district court’s

        certification decision contains a substantial weakness; (3) whether the appeal will

        permit the resolution of an unsettled legal question of general importance; (4) the

        nature and status of the litigation before the district court (such as the presence of

        outstanding dispositive motions and the status of discovery); and (5) the likelihood

        that future events will make appellate review more or less appropriate. Lienhart, 255

        F.3d at 144-46 (citing Prado-Steiman, 221 F.3d at 1274-76).

              The second factor, substantial weakness, is “viewed in terms of the likelihood

        of reversal under an abuse of discretion standard, operates on a ‘sliding scale’ in

        conjunction with the other factors.” Id. at 145. Only “[i]n extreme cases, where

        decertification is a functional certainty,” may this factor “alone suffice” for

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        immediate review. Id. Otherwise, “a commensurately stronger showing on the other

        factors is necessary.” Id. The “District Court’s certification decision must be

        manifestly erroneous and virtually certain to be reversed on appeal.” Id.

              Rule 23(f) appeals are “inherently disruptive, time-consuming, and

        expensive,” and thus are “generally disfavored.” Prado-Steiman, 221 F.3d at 1276.

        The test is designed to encourage “restraint in accepting Rule 23(f) Petitions,”

        insisting that the petitioner show a truly “compelling need for resolution of the legal

        issue sooner rather than later.” Id. at 1274.

                                            ARGUMENT

      I.      Marriott does not satisfy the Rule 23(f) factors.

              Marriott fails to meet the heightened standard for immediate review under any

        of the five Rule 23(f) factors. First, its Petition does not raise any issues that are

        likely dispositive of the case. Second, it does not identify any “substantial weakness”

        in the court’s thorough analysis. Third, it does not raise any unsettled questions

        pertaining to the application of Rule 23. For the fourth and fifth factors, as detailed

        above, the District Court is permitting additional discovery and expert reports related

        to Plaintiffs’ damages theories as the case progresses. This will lead to renewed class

        certification briefing. Accordingly, Marriott’s petition is premature and granting

        interlocutory review would only disrupt the District Court’s proceedings. The time

        for review, if at all, is after the class certification order is final. Prado-Steiman, 221


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        F.3d at 1273 (“Rule 23(c)(1) specifically empowers district courts to alter or amend

        class certification orders at any time prior to a decision on the merits. That power is

        critical, because the scope and contour of a class may change radically as discovery

        progresses and more information is gathered about the nature of the putative class

        members’ claims.”).

      II.      The District Court’s decision that the class waiver defense was a
               common issue that could be addressed at the merits stage of litigation
               was not manifestly erroneous.

               The District Court did not manifestly err when it considered Marriott’s

        purported class action waiver defense and concluded that the defense can be resolved

        by a classwide basis using common evidence, without creating Rule 23 typicality,

        adequacy, or predominance issues. App. 25 n.26. The Court likewise concluded that

        arguments related to Marriott’s waiver of this argument are common and will apply

        to all class members, further supporting certification. Id. This is a sound application

        of Rule 23. The District Court correctly held that these issues should be addressed

        at the merits stage, “when all discovery is complete.” App. 25 n.26.

               Marriott summarily argues that “the class waiver issue is not a merits issue,

        and the time to resolve it is at class certification,” Pet. at 15, but does not cite a single

        published case that supports its position. The only published opinion upon which

        Marriott relies, Earl v. Boeing Co., 339 F.R.D. 391 (E.D. Tex. 2021), supports the

        District Court’s application of Rule 23 and its finding that the waiver’s enforceability


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        may be resolved on a classwide basis at the merits stage. Id. at 441. Marriott fails to

        explain how the court erred at all in its application of Rule 23 to the common law

        contractual class-action waiver issue, let alone manifestly so. And it did not. This is

        not a case where a doubtful certification ruling might compel a party to abandon a

        meritorious claim or defense before trial, nor does it involve unsettled legal

        questions that would contribute to the progress of complex litigation and the orderly

        development of the law. Prado-Steiman, 221 F. 3d at 1272. Taking into account the

        District Court’s discretion in implementing Rule 23 and the deferential standard of

        appellate review, Marriott has not satisfied the high burden of demonstrating that the

        “district court’s ruling on class certification is questionable.” Id.

              Finally, this case is an especially poor candidate for Rule 23(f) review because

        the District Court noted that “Plaintiffs raise a strong argument that Defendants have

        waived their right to enforce the class action waiver. Aside from a one-time,

        boilerplate affirmative defense, Defendants litigated this case for more than 31

        months before asserting that Plaintiffs are subject to a class waiver. Defendants did

        not raise it as part of the bellwether negotiation process, address it in dozens of meet-

        and-confer and scheduling conferences, or raise it as part of any motion practice

        [prior to Defs.’ Opp’n].” App. 25 n.26 (citations omitted).2 The District Court then


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               Given Defendants’ dalliance in raising this issue sooner, their protestations
        that the District Court’s decision “imposes exorbitant burdens” rings hollow. Pet.
        14.
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        correctly concluded that it need not rule on the issue at this time. Id. This decision

        was not manifestly erroneous. Because the District Court properly deferred ruling

        on the class waiver issue, this Court should deny the Petition.

     III.     The District Court’s finding that the class is ascertainable is not
              manifestly erroneous and does not warrant immediate review.

              Marriott argues that the District Court’s narrowing of the class definition

        “created a fatal ascertainability problem.” Pet. 16-17. Not so. Far from being

        “manifestly erroneous,” the District Court’s analysis followed the procedures

        prescribed by the courts, acted within its discretion in applying them to the record

        before it, and is not the type of analysis that a circuit court should review for an

        abuse of discretion. The District Court did not arrive at its decision lightly. It spent

        seven pages analyzing the facts related to class membership and specifically

        considered Marriott’s ascertainability and administratively feasible arguments. App.

        11-18. Specifically, it considered sources of information such as Marriott’s NDS

        database, class member self-certification, due process rights, and Marriott’s ability

        to challenge proof used to demonstrate class membership, concluding that while the

        class size is large, “any review is administratively feasible and not the kind of

        administrative review that would preclude ascertainability.” App. 17.

              Marriott’s self-serving statements about whether its NDS database contains

        information regarding whether a customer was reimbursed is a merit-based, fact-

        intensive matter best suited for the District Court at this stage (and following the
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        discovery the District Court contemplated) and not interlocutory review. Presently,

        Marriott has objected to producing its NDS database for anyone other than the

        bellwether plaintiffs; thus, the record does not yet contain any sort of analysis based

        upon Defendants’ full production of the class database. App. 17 n.16. The District

        Court contemplated Marriott producing its NDS database to Plaintiffs’ expert and

        said it could revisit Marriott’s arguments if necessary. Accordingly, Marriott’s

        Petition is premature.3 As discovery ensues and litigation progresses, the District

        Court will continue to scrutinize ascertainability and may modify its order. See

        Gunnells v. Healthplan Servs., Inc., 348 F.3d 417, 424 (2003) (“Our review is

        particularly deferential in a case like this—involving an interlocutory appeal of a

        conditional class certification.”).4

              Even if Marriott’s arguments were not premature, the District Court’s

        thorough, fact-bound analysis that damages are ascertainable on a common, class-

        wide basis was not manifestly erroneous. The cases Marriott’s relies on are

        inapposite. This Court’s decision in EQT Production Co. v. Adair, 764 F.3d 347 (4th

        Cir. 2014) raised ascertainability issues simply not found here. In EQT, the classes

        included former and current gas estate owners. Id. at 359. But ownership of the gas


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               Since Marriott filed its Petition, the District Court held a status conference
        and issued a letter order on discovery the parties seek related to the Class. ECF 1033.
        4
              The District Court held that certification was not conditional, but the Court
        could revisit it. App. 18 n.7.
                                                  12
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        estates changed over 20 years and the schedules were not updated to account for

        ownership changes. Due to the inherent nature of deeds, ownership could only be

        determined by the construction of deeds and ascertaining the grantor’s intent. Id.

        Noting that the district court glossed over this problem, the Fourth Circuit held that

        the district court abused its discretion in failing to rigorously analyze whether

        heirship, intestacy and title-defects posed an administrative barrier to ascertaining

        the ownership classes. Id. at 358-359. In EQT, as opposed to the straightforward

        analysis the trial court was able to apply here, the district court failed to rigorously

        analyze whether ascertaining class membership was feasible.

              Spotswood v. Hertz Corp., No. CV 16-1200, 2019 WL 498822 (D. Md. Feb.

        7, 2019), is also distinguishable and does not support immediate review. In

        Spotswood, the inquiry did not involve whether class members were charged for

        reservations; rather, the issue was whether Hertz had charged fees for administrative

        purposes, loss of use fees, and diminished value to class members who had made

        reservations and then had auto accidents. Id. The district court found that plaintiff

        “glossed over” complications and failed to demonstrate how the classes could be

        ascertained. Id. at *8; see also Chado v. Nat’l Auto Inspections, LLC, No. CV 17-

        2945, 2019 WL 1981042 (D. Md. May 3, 2019) (court redefined the class thus

        satisfying Rule 23’s ascertainability requirement).




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               The facts on which these cases are decided belie the notion that “error is

        seeping into the Fourth Circuit courts” as Marriott claims. App. 20. Instead, as

        Plaintiffs agree, the District Court must conduct a rigorous factual analysis of

        ascertainability. The District Court did just that in its opinion when it devoted seven

        pages of its opinion to a factual analysis of class membership. App. 11-18. The

        District Court’s analysis was not manifestly erroneous, and it would be premature to

        review the District Court’s opinion at this juncture.

     IV.      The District Court’s Order complies with Daubert and Comcast and
              does not reflect a substantial weakness or manifest error.

              The District Court’s finding that Plaintiffs’ overpayment theory of damages

        is capable of measurement on a classwide basis does not reflect a substantial

        weakness or manifest error. In denying Defendants’ motion to exclude Plaintiffs’

        expert’s (Dr. Jeffrey Prince) proposed methodology for measuring the

        “overpayment” damages suffered by class members, the District Court scrupulously

        applied Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). The District

        Court performed its gatekeeping function with a probing, detailed examination of

        Dr. Prince’s proposed methods, including a seven-hour hearing where both sides’

        experts explained their arguments directly to the Court. Thus, the District Court

        complied with the requirements of both Daubert and Comcast Corp. v. Behrend, 569

        U.S. 27 (2013).



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              Moreover, Marriott’s argument is once again premature as the District Court’s

        opinion explicitly contemplated that: (1) Marriott will eventually produce its NDS

        database to Dr. Prince; (2) Dr. Prince will deploy his damages model for all class

        members; (3) Dr. Prince will submit a supplemental report; (4) Marriott will depose

        him; (5) Marriott’s expert will submit her own supplemental report; (6) Plaintiffs

        will depose her; and (7) the Court will consider whether to de-certify the classes. It

        would be far more appropriate to consider intermediate review after the seven steps

        above occur. See In re Delta Air Lines, 310 F.3d 953, 960 (6th Cir. 2002) (“[A]n

        indication that the District Court will reexamine the certification decision following

        discovery should discourage an interlocutory appeal.”). “Importantly, ‘[t]he trial

        court must have the same kind of latitude in deciding how to test an expert’s

        reliability, and to decide whether or when special briefing or other proceedings are

        needed to investigate reliability, as it enjoys when it decides whether or not that

        expert’s relevant testimony is reliable.” McKiver v. Murphy-Brown, LLC, 980 F.3d

        937, 961 (4th Cir. 2020) (quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137,

        152 (1999)) (emphasis supplied by McKiver).

              Notably, Marriott itself refused to produce its full NDS database until after

        class certification. Thus, the necessary steps that the Court outlined are a product of

        Marriott’s own litigation choices. Dr. Prince’s proposed methodology and any bases

        for appellate review can be more fairly analyzed by both the District Court and this

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        Court after Dr. Prince is given access to the full set of relevant data in Marriott’s

        possession.5

              A.       Marriott has not shown Dr. Prince’s proposed methodology
                       violates Comcast or is unreliable under Daubert.

              Even if appellate review were not premature, Marriott’s arguments about Dr.

        Prince’s damages model fail under Comcast. Comcast requires that “a model

        purporting to serve as evidence of damages” must measure damages by following

        the same theory of harm “accepted for class-action treatment” by the District Court.

        Comcast, 569 U.S. at 35. The District Court here found that Dr. Prince’s model

        complied with Comcast because it was consistent with Plaintiffs’ “overpayment

        theory of harm” and “only measures the amount the class members overpaid

        pursuant to that theory.” App. 51.6


        5
               Moreover, appellate review is premature given the unsettled nature of the
        District Court’s order related to the inherent value model of damages. While the
        District Court rejected Plaintiffs’ expert’s inherent value model, it indicated that it
        would entertain additional discovery of Marriott’s own valuation of class
        members’ personal information. ECF No. 1033. Following a status conference
        where the Court indicated it would be inclined to give Plaintiffs some discovery,
        the parties are currently briefing exactly what discovery Plaintiffs will be able to
        obtain. Once that discovery is obtained, Plaintiffs may move for certification for
        the damages classes that rely on the inherent value model of damages.

        6
               Dr. Prince’s model builds off the findings of another expert witness for
        Plaintiffs, Sarah Butler, whose expert conjoint analysis established the first step of
        the “overpayment” theory by showing that, had consumers known the truth about
        Marriott’s inadequate data security practices, a statistically significant reduction in
        demand for Marriott’s hotel rooms would result. See App. 87-88, 92. Defendants did
                                                   16
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              Marriott does not make a showing that the District Court’s observation was

        incorrect or that Dr. Prince’s theory does not indeed match the overpayment theory

        of harm relied upon by the certified classes; accordingly, Marriott’s Petition fails to

        demonstrate that the District Court violated Comcast. Marriott’s argument is a more

        general challenge to the District Court’s decision not to exclude Dr. Prince’s

        methodology under Daubert. See Pet. at 22-24. But this argument does not support

        granting the Petition.

              “A trial court has ‘considerable leeway in deciding in a particular case how to

        go about determining whether particular expert testimony is reliable.’” McKiver, 980

        F.3d at 961 (quoting Kumho Tire, 526 U.S. at 152) (emphasis in Kumho)). “Daubert

        is a flexible test and no single factor, even testing, is dispositive.” Nease v. Ford

        Motor Co., 848 F.3d 219, 232 (4th Cir. 2017).

              The essence of Marriott’s argument boils down to its contention that Dr.

        Prince is wrong in believing that—when calculating how much class members may

        have overpaid at a given hotel—it is not necessary to run a comparison of the prices

        of Marriott “focal hotels” and local competitors for every day in the class period

        because, in general, hotels that compete with one another will adjust their prices

        from time to time “in a correlated way”—a concept referred to as “the co-movement



        not move to exclude Ms. Butler’s report (App. 87, n.9), and Marriott does not
        mention her report in its Petition.
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        theory.” App. 94; see also Pet. at 22-23 (revealing that Marriott’s argument is

        primarily about the co-movement theory assumption).

              Marriott’s complaint about the co-movement theory falls short of identifying

        any error or abuse of discretion by the District Court. To start, Marriott misrepresents

        several facts about Dr. Prince’s proposed methodology and overstates the

        significance of the criticisms leveled by Marriott’s expert. First, contrary to

        Marriott’s assertion (Pet. at 22), it was not Dr. Prince’s position that the ultimate

        iteration of his model would necessarily be run using just a single date for each

        market, and the District Court correctly rejected Marriott’s effort to misstate that

        aspect of his opinion. App. 93 (“But it mischaracterizes Dr. Prince’s position to

        insist, as Defendants do, that his belief that he only needed to test each focal hotel’s

        competitive market a single time was immutable. To the contrary, he clearly stated

        … that it might be necessary to run the model more than once for each market, but

        he would need the full NDS database in order to determine this.”).

              Second, Marriott’s criticism that Dr. Prince did not test his model fails because

        he tested his model twice (for purposes of showing the model could work

        formulaically), using the limited NDS discovery that Marriott has produced to date.

        App. 51, 88-89, 95. Dr. Prince’s demonstrations of his model satisfy Daubert, but

        more importantly, do not reflect the “final” calibration of the model as he only tested

        his model for the bellwether plaintiffs’ stays. See App. 51 (noting “it would have

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        been impossible” for Dr. Prince to perform “precise calculations” without access to

        the full NDS database).

               Marriott’s expert’s attacks on Dr. Prince’s tests—which Marriott incorrectly

        contends “proved” that the assumption of co-movement is false (Pet. at 23-24)—

        were premature and deserved the limited weight given to them by the District Court.

        See App. 78, 95 (Dr. Tucker’s critiques were not dispositive because Dr. Prince’s

        reports had to be written without access to the actual NDS information that he will

        be able to use in the future). That a defendant’s expert disagrees with the validity of

        one assumption in a plaintiff’s expert report does not make it conclusively

        unreliable. See Alaska Rent-A-Car, Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 969-

        70 (9th Cir. 2013) (“The District Court is not tasked with deciding whether the expert

        is right or wrong, just whether his testimony has substance such that it would be

        helpful to a jury.”).

               Finally, the evidence supporting Dr. Prince’s reasonable belief that Marriott

        and competing hotels adjust their prices relative to each other in a measurable way

        extends beyond one academic paper, as Marriott claims. Pet. at 23. In developing his

        model, Dr. Prince also relied on detailed evidence regarding the actual tool used by

        Marriott’s own hotel managers to factor in competitor prices when setting room

        rates, and he attempted to replicate the process followed by that tool. App. 90. The

        phenomenon of price co-movement within the hotel industry is therefore supported

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        by both academic literature and actual evidence regarding how Marriott itself

        behaves. Id. In the face of that foundation, Marriott’s implicit suggestions that hotel

        price co-movement does not exist or that its effects cannot be reasonably built into

        a final damage calculation methodology in this case are both significantly more far-

        fetched than Dr. Prince’s opinions.

              The District Court did not violate Comcast, it did not ignore Daubert’s

        requirements, and it acted fully within its discretion in determining that Dr. Prince’s

        proposed methodology was sufficiently reliable to support class certification at this

        point in the proceedings.

      V.      Defendants failed to identify a manifest error or substantial weakness in
              the District Court’s limited issue class certification order error.

              Plaintiffs incorporate their arguments about the appropriate use of Rule

        23(c)(4) from their opposition to Defendant Accenture’s petition. The District

        Court appropriately used Rule 23(c)(4) to “promote the use of the class device and

        to reduce the range of disputed issues” in this complex multidistrict litigation. See

        Central Wesleyan College v. W.R. Grace & Co., 6 F.3d 177 (4th Cir. 1993)

        (citation and quotation marks omitted). Defendants fail to meet their burden to

        demonstrate that the District Court’s use of Rule 23(c)(4) was “manifest error,” or

        contained a “substantial weakness,” Lienhart, 255 F.3d 145. Defendants failed to

        find a single Supreme Court or circuit court decision standing for the proposition



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        that Rule 23(c)(4)’s utility should be narrowed in the way Defendants suggest. The

        District Court properly certified issue-only negligence classes.

                                           CONCLUSION

               For the reasons stated herein in and in opposition to Accenture’s Rule 23(f)

        Petition, Plaintiffs respectfully request that this Court deny Marriott’s Petition.



        Dated: June 14, 2022                    Respectfully Submitted,

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                               CERTIFICATE OF COMPLIANCE

              Pursuant to Fed. R. App. P. 32(g)(1), Respondents, by and through their

        counsel of record, hereby certify that this Answer complies with the typevolume

        limitations of Fed. Rule App. P. 5(c) and 32(c)(2) because this brief contains 4861

        words, excluding the parts of the petition exempted by Fed. R. App. P. 32(f). I further

        certify that this petition complies with the typeface requirements of Fed. R. App. P.

        32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

        petition has been prepared in a proportionally spaced typeface using Times New

        Roman, a proportionally-spaced, 14-point serif font.



        Dated: June 14, 2022                    /s/ MaryBeth V. Gibson




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                                  CERTIFICATE OF SERVICE

              I hereby certify that on June 14, 2022, I electronically filed the foregoing

        answer with the Clerk of Court for the U.S. Court of Appeals for the Fourth Circuit

        by using the CM/ECF system. All participants are registered CM/ECF users and will

        be served by the appellate CM/ECF system.

              I also certify that on June 14, 2022, I caused a copy of the foregoing Answer

        to be delivered by e-mail upon the following:

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        Supplemental Appendix
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                                                                             App.112
                                        BEFORE THE
                               UNITED STATES JUDICIAL PANEL
                               ON MULTIDISTRICT LITIGATION


         IN RE MARRIOTT INTERNATIONAL,
         INC., CUSTOMER DATA SECURITY                MDL No. 2879
         BREACH LITIGATION



                   CONSOLIDATED RESPONSE BY DEFENDANTS MARRIOTT
                INTERNATIONAL, INC., MARRIOTT HOTEL SERVICES, INC., AND
                     STARWOOD HOTELS & RESORTS WORLDWIDE, LLC

                                 IN SUPPORT OF THE MOTIONS

               BY PLAINTIFFS PERKINS AND TAPLING FOR THE TRANSFER AND
               CONSOLIDATION OF ACTIONS IN THE UNITED STATES DISTRICT
               COURT FOR THE DISTRICT OF MARYLAND-SOUTHERN DIVISION
                               PURSUANT TO 28 U.S.C. § 1407
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                                                                                                  App.113
                                                     Background

                On November 30, 2018, Marriott International, Inc. announced a data security incident

        involving unauthorized access to the Starwood guest reservation database containing information

        relating to as many as 500 million guests. 1 As of December 21, 2018, at least 57 related putative

        class actions have been filed against Marriott in 12 federal district courts, and three related state

        actions have been or will be removed to federal court. 2 All the related actions name Marriott

        International as a defendant, while some also name its subsidiaries Marriott Hotel Services, and

        Starwood Hotels & Resorts Worldwide, which Marriott acquired in 2016 (collectively, these

        defendants will be referred to as “Marriott”).

                All but one of the related actions purport to assert claims on behalf of Marriott

        customers. 3 They allege Marriott failed to safeguard guest information from unauthorized access

        in violation of consumer protection statutes, contracts, and common law duties. The remaining

        related action is brought by a financial institution that alleges it and other financial institutions




        1
         See Press Release, Marriott, Marriott Announces Starwood Guest Reservation Database
        Security Incident (Nov. 30, 2018), available at http://news.marriott.com/2018/11/marriott-
        announces-starwood-guest-reservation-database-security-incident/.
        2
         Johnson, et al. v. Marriott, 3:18-cv-02119 (D. Or.), and Silver, et al. v. Marriott, et al., 2:18-cv-
        10390 (C.D. Cal.), were removed on December 10 and December 14, 2018. Thompson, et al. v.
        Marriott, 460009V (Cir. Court Montgomery County, MD) was filed on December 12, 2018 and
        will be removed promptly.
        3
          Most of the related actions are identified in the Schedules of Actions submitted with Perkin’s
        Motion (Doc. 1-2), Tapling’s Motion (Doc. 4-2), and subsequent Notices of Related Actions
        (Docs. 9-1, 11, 14-1, 16, 23, 26). Attached as Exhibit A, is a chart providing notice of potential
        tag-along actions for which the Panel has not yet received notice, along with a list of previously
        identified related cases, and previously identified unrelated cases. See J.P.M.L. Rule 6.2(d).

                                                           1
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                                                                                                App.114
        were injured because they may incur costs to reissue customer bank cards for accounts

        potentially affected by the same alleged failure to safeguard guest information. 4

                 On December 3, 2018, plaintiff Perkins moved the Panel to transfer to, and consolidate

        all related actions and tag-along actions in, the District of Maryland. Plaintiff Tapling moved the

        Panel for the same relief and plaintiff Elliot supported these motions. 5 Marriott agrees that the

        related cases arising out of the Marriott security incident should be centralized in the District of

        Maryland (Greenbelt) under 28 U.S.C. § 1407. The related actions all arise out of, and share fact

        questions concerning, the same data security incident. All plaintiffs allege Marriott failed to

        protect guest information. In addition to overlapping factual questions, the customer cases bring

        the same or similar claims on behalf of overlapping nationwide or statewide putative classes.

                 Consolidation of the related lawsuits and anticipated tag-along actions is necessary to

        prevent duplicative discovery and inconsistent pretrial rulings and will promote the just and

        efficient control of these numerous actions. The District of Maryland (Greenbelt) is the

        appropriate transferee court because Marriott is headquartered there, relevant witnesses and

        documents likely will be found there, and at least 34 of the actions have been filed there –



        4
          However, Marriott notes there is a securities class action, styled McGrath, et al. v. Marriott, et
        al., 1:18-cv-06845, pending in the Eastern District of New York that was identified as related in
        Tapling’s Motion (Doc 4-2). Marriott does not believe the McGrath action is “related” to the
        pending consumer and bank actions. See 28 U.S.C. § 1407 (providing that actions must share
        “common questions of fact” to be transferred and consolidated). The McGrath complaint claims
        two violations of the Exchange Act on the theory that Defendants’ SEC filings allegedly misled
        investors with regard to Marriott’s data systems. McGrath focuses on statements in SEC filings
        over the past three years, compliance with provisions of the Exchange Act, and alleged damages
        in connection with Marriott securities transactions. Further, the McGrath action will be subject to
        the procedures of the Private Securities Litigation Reform Act of 1995, Pub. L. 104-67, 109 Stat.
        737. In at least one analogous situation, the Panel declined to include securities claims in the
        same MDL proceeding as tort and property damage claims in connection with the Deepwater
        Horizon disaster. See In re BP p.l.c. Securities Litigation, 734 F.Supp.2d 1376, 1378 (J.P.M.L.
        2010).
        5
            MDL No. 2879, Docs. 1, 4, 8.
                                                          2
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                                                                                                App.115
        significantly more than in any other district. Counsel for Marriott conferred with many of the

        counsel who filed related actions; most, if not all, support consolidation, and the majority favor

        consolidation in the District of Maryland. This effort by Marriott counsel also confirmed the

        burdens and challenges that would impede any attempt to coordinate informally the related

        actions without the benefit of consolidation.

                                                     Argument

               Under 28 U.S.C. § 1407, the Panel is empowered to transfer actions involving common

        factual questions to any district for coordinated or consolidated pretrial proceedings when such

        transfer “will be for the convenience of the parties and witnesses and will promote the just and

        efficient control of such actions.” The Panel generally orders transfer and consolidation to

        eliminate duplicative discovery, avoid conflicting rulings, reduce litigation costs, and conserve

        the time and effort of the parties, attorneys, witnesses, and courts. 6 These factors strongly favor

        transfer and consolidation of related and tag-along actions in the District of Maryland

        (Greenbelt).

               A.      Transfer of the related actions for consolidated proceedings will promote just
                       and efficient control of the actions.

               Where actions “arise from a common factual core,” transfer and consolidation is

        appropriate even in “the presence of additional facts or legal theories.” 7 The related complaints

        here present common fact questions concerning the same data security incident and the adequacy

        of Marriott’s efforts to protect guest information. The Panel consistently has determined that




        6
         See In re Blue Cross Blue Shield Antitrust Litigation, 908 F.Supp.2d 1373, 1376 (J.P.M.L.
        2012); see also Manual for Complex Litigation, Fourth § 20.131.
        7
         Blue Cross Blue Shield, 908 F.Supp.2d at 1376; see also In re Home Depot, Inc. Customer
        Data Security Breach Litigation, 65 F.Supp.3d 1398, 1399 (J.P.M.L. 2014).

                                                          3
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                                                                                                App.116
        actions arising out of the same cybersecurity incident present common fact questions. 8 This is

        true even when actions are brought by different categories of plaintiffs, like consumers and

        banks. For example, the Panel recognized that actions against Home Depot were related because,

        “whether brought by consumers or by financial institutions, [they] arise from the same common

        factual core – namely, the Home Depot data breach.” 9

                  The Panel has also recognized that consolidation of claims arising out of cybersecurity

        incidents is appropriate because it will “eliminate duplicative discovery.” 10 Transfer and

        consolidation “ensure[s] that the actions are supervised by a single judge who, from day-to-day

        contact with all aspects of the litigation, will be in the best position to design a pretrial program

        that will prevent duplicative discovery…and substantially conserve the time and efforts of the

        parties, the witnesses and the federal judiciary.” 11 Because the complaints for all the related

        actions share the same core factual allegations and assert similar legal claims, “[c]entralization

        will eliminate duplicative discovery” that “may be quite technical and contentious” and will

        “conserve the resources of the parties, their counsel, and the judiciary.” 12



        8
         See, e.g., In re Equifax, Inc., 289 F.Supp.3d 1322, 1324-25 (J.P.M.L. 2017); In re Community
        Health Systems, Inc., Customer Sec. Data Breach Litigation, 84 F.Supp.3d 1362, 1363 (J.P.M.L.
        2015); In re Zappos.com, Inc., Customer Data Security Breach Litigation, 867 F.Supp.2d 1357,
        1358 (J.P.M.L. 2012); In re Sony Gaming Networks and Customer Data Security Breach
        Litigation, 802 F.Supp.2d 1370, 1371 (J.P.M.L. 2011).
        9
         Home Depot, 65 F.Supp.3d at 1399. Accord In re Target Corp. Customer Data Sec. Breach
        Litigation, 11 F. Supp.3d 1338(Mem) (J.P.M.L. 2014).
        10
          Equifax, Inc., 289 F.Supp.3d at 1325. Accord Community Health, 84 F.Supp.3d at 1362;
        Zappos.com, 867 F.Supp.2d at 1358; Home Depot, 65 F.Supp.3d at 1399; Target Corp., 11
        F.Supp.3d at 1338.
        11
             In re Resource Exploration, Inc., Securities Litigation, 483 F.Supp.817, 821 (J.P.M.L. 1980).
        12
           In re Supervalu, Inc., Customer Data Sec. Breach Litigation, 67 F.Supp.3d 1377, 1378 (Mem)
        (J.P.M.L. 2014).

                                                          4
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                                                                                                 App.117
                   Transfer and consolidation also will avoid the risk of inconsistent pretrial rulings. The

         “potential for conflicting or overlapping class actions presents one of the strongest reasons for

         transferring such related actions to a single district for coordinated or consolidated pretrial

         proceedings which will include an early resolution of such potential conflicts.” 13 The risk of

         inconsistent pretrial rulings is exceptionally high here. Each of the related actions seeks to

         certify nationwide or statewide classes based on complaints asserting the same or similar

         claims. Inconsistent rulings on dispositive motions, class certification, or other important

         issues – for example the scope of discovery and whether requests are relevant and proportional

         – would seriously threaten just and efficient control of the actions. The Panel repeatedly has

         found that the risk of “inconsistent pretrial rulings on class certification and other issues”

         supports consolidation in cybersecurity litigation. 14

                   Consolidating the related actions at this stage will eliminate the risk of inconsistent

         rulings and duplicative efforts of transferor and transferee courts because none of the related

         actions has “progressed beyond the filing of the complaints.” 15 All related actions were filed

         within the last few weeks, and Marriott has not yet responded. Marriott is in the process of

         seeking to suspend or stay proceedings in related actions pending this Panel’s determination

         on consolidation, and the plaintiffs in many of these cases have already agreed to suspension.

                   Separately litigating each of the 59 related actions, plus additional tag-alongs, offers no

         benefit and will inevitably heighten the duplication, complexity, and burdens of these matters



        13
          In re Multidistrict Private Civil Treble Damage Litigation Involving Plumbing Fixtures, 308
        F.Supp.242, 244 (J.P.M.L. 1970).
        14
         See, e.g., Community Health, 84 F.Supp.3d at 1362; see also Supervalu, 67 F.Supp.3d at 1378;
        Home Depot, 65 F.Supp.3d at 1399; Zappos.com, 867 F.Supp.2d at 1358.
        15
             In re Electronic Books Antitrust Litigation, 846 F.Supp.2d 1378, 1379 (J.P.M.L. 2011).

                                                            5
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                                                                                                    App.118
         for all stakeholders. In accordance with its prior rulings involving multiple lawsuits arising

         from a single cybersecurity event, the Panel should order transfer and consolidation of related

         cases and tag-alongs here.

                  B.      The District of Maryland (Greenbelt) is the appropriate transferee forum.

                  The District of Maryland (Greenbelt) is the appropriate transferee forum based on factors

        traditionally considered by the Panel, including (1) connection to the litigation, (2) convenience

        of the parties, (3) location of the witnesses and evidence, and (4) the number of cases pending in

        the jurisdiction, as well as the experience, skill, and caseloads of the available judges. 16

                  First, Marriott’s headquarter offices are in the District. 17 In other matters arising out of

        cybersecurity incidents, the Panel has consistently determined that the district where the

        defendant’s headquarters are located has the strongest connection to the litigation and is the

        appropriate transferee forum. By way of example, this was a major factor in the Panel’s

        decisions to transfer the Home Depot litigation to the Northern District of Georgia, 18 the Target

        litigation to the District of Minnesota, 19 the Zappos litigation to the District of Nevada, 20 and the

        Schnuck Markets litigation to the Eastern District of Missouri. 21 This makes sense given that




        16
          See, e.g., In re Lipitor (No. II), 997 F.Supp.2d 1354, 1357 (J.P.M.L. 2014); In re Tri-State
        Crematory Litigation, 206 F.Supp.2d 1376, 1378 (J.P.M.L. 2002).
        17
          See Katie Arcieri, Why Maryland was Never Going to Lose Marriott, WASH. BUS. J., Jun. 21,
        2018, available at https://www.bizjournals.com/washington/news/2018/06/21/why-maryland-
        was-never-going-to-lose-marriott.html.
        18
             Home Depot, 65 F.Supp.3d at 1399.
        19
             Target, 11 F.Supp.3d at 1339.
        20
             Zappos.com, 867 F.Supp.2d at 1358.
        21
          In re: Schnuck Markets, Inc. Customer Data Sec. Breach Litigation, 978 F.Supp.2d 1379,
        1381-82 (J.P.M.L. 2013).

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                                                                                                 App.119
        “relevant documents and witnesses are likely to be located” at a party’s headquarters. 22 By

        contrast, plaintiffs and putative class members in these cases are spread throughout the country.

        Thus, there is no overarching connection between plaintiffs, or the classes they claim to

        represent, and any particular district. In sum, no district comes close to being as strongly

        connected to the parties and the related actions as the District of Maryland, where Marriott is

        headquartered.

                 Second, the strong connection between the District of Maryland and the related actions is

        also evidenced by the fact that eight of the first ten actions and, over half of the total, were filed

        in the District of Maryland – significantly more than in any other District. In both Home Depot

        and Target, numbers like these contributed to the Panel’s selection of the appropriate transferee

        district. 23

                 Third, the District of Maryland is centrally located and relatively convenient for the

        parties. Not only is Marriott headquartered near the Greenbelt courthouse, but at least 30 of the

        law firms that represent the plaintiffs have offices in the Washington-Baltimore metropolitan

        area. Moreover, the parties, witnesses, and counsel who reside outside the Washington-Baltimore

        metropolitan area will have access to the Greenbelt courthouse through three nearby, well-

        connected international airports (BWI, Dulles, and Reagan National), as well as AMTRAK and

        other regional rail lines that service the area. The Panel frequently considers whether a transferee

        district is “easily accessible and relatively centrally located” when deciding where to consolidate

        litigation. 24


        22
             Supervalu, 67 F.Supp.3d at 1378. See also Sony Gaming Networks, 802 F.Supp.2d at 1371.
        23
             See Home Depot, 65 F.Supp.3d at 1399; Target, 11 F.Supp.3d at 1339.
        24
          Target, 11 F.Supp.3d at 1339; see also In re Method of Processing Ethanol Byproducts and
        Related Subsystems, 730 F.Supp.2d 1379 (J.P.M.L. 2010).

                                                           7
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                                                                                                App.120
                  Fourth, the District of Maryland is also appropriate because it has the capacity to

        administer this case. According to the September 2018 publication of the Federal Court

        Management Statistics, the average federal judge has a pending caseload of 688 actions whereas

        the average judge in the District of Maryland has 516 pending actions. 25 Moreover, there

        currently is only one active MDL pending in the District of Maryland, and none before a judge

        who resides in the Greenbelt courthouse. 26 This factor also favors transfer and consolidation

        under Section 1407. 27

                  Thus, every one of the factors typically considered by the Panel strongly supports the

        District of Maryland (Greenbelt), and considering all of them together confirms that this District

        is the most appropriate forum for consolidating these actions. Marriott disagrees with plaintiff

        Perkins and plaintiff Crabtree that the District of Massachusetts or the Northern District of

        California would be appropriate alternative venues. 28 Neither district would satisfy any of the

        factors typically considered by the Panel: Marriott is not headquartered there, no witnesses or

        documents are expected to be found there; only one counsel in any related action is located in

        either district; and only one related action have been filed in each district.




        25
           U.S. District Courts – Combined Civil and Criminal Federal Court Management Statistics
        (Dec. 20, 2018), available at
        http://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0930.2018.pdf.
        26
           See MDL Statistics Report – Distribution of Pending MDL Dockets (Dec. 17, 2018), available
        at https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-
        December-17-2018.pdf.
        27
          See, e.g., In re Corn Derivatives Antitrust Litigation, 486 F.Supp. 929, 932 (J.P.M.L. 1980); In
        re Teflon Products Liability Litigation, 416 F.Supp.2d 1364, 1365 (J.P.M.L. 2006).
        28
             Doc. 1-1 at 10; Doc. 78 at 1.

                                                           8
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                                                                                                App.121
                  Finally, while some plaintiffs have suggested assignment to a specific judge, Marriott

        expects that any of the judges in the District of Maryland (Greenbelt) assigned by the Panel

        would be capable of efficiently and effectively managing this MDL.

                  C.     Attempting to achieve consolidation under Section 1404 is not practical here.

                  Marriott recognizes that “centralization under Section 1407 should be the last solution

        after considered review of all other options.” 29 As the Panel has held, “where a reasonable

        prospect exists that the resolution of a Section 1404 motion or motions could eliminate the

        multidistrict character of a litigation, transfer under Section 1404 is preferable to

        centralization.” 30 Marriott further recognizes that Section 1404 transfers may, under certain

        circumstances, be a practical method of consolidating related cases where “only a minimal

        number of actions are involved[.]” 31

                  But the Panel has not required parties to resort to Section 1404 where the number of

        cases, law firms, plaintiffs, and districts involved are as great as they are here. In In re Roundup

        Products Liability Litigation, for example, the Panel concluded that “informal coordination

        among the involved courts and counsel is not practicable” because the matter involved “thirty-

        seven actions pending in twenty-one districts” with “[m]ore than ten different law firms

        represent[ing] plaintiffs . . . spread across the country.” The JPML reasoned that “[e]ven if no




        29
          In re Best Buy Co., Inc. California Song-Beverly Credit Card Act Litigation, 804 F.Supp.2d
        1376, 1378 (J.P.M.L. 2011).
        30
           In re 3M Company Lava Ultimate Products Liability Litigation, 222 F.Supp.3d 1347, 1347-48
        (J.P.M.L. 2016).
        31
             See In re: Transocean Ltd. Sec. Litigation (No. II), 753 F.Supp.2d 1373, 1374 (J.P.M.L. 2010).

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        additional actions are filed, the present number of cases, districts, and involved counsel, as well

        as the complexity of the issues presented, warrants centralization.” 32

                 Clearly, in this case, where there are well over 50 related actions filed by many law firms

        in a dozen districts across the country, transfer and consolidation under Section 1407 represents

        the only practical method of managing the litigation and avoiding inconsistent results.

                                                    Conclusion

                 The motions to transfer and consolidate should be granted and the related actions, and

        tag-along actions, should be transferred to the District of Maryland (Greenbelt) for consolidated

        proceedings.



        Dated: December 21, 2018                           Respectfully submitted,

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        32
             214 F.Supp.3d 1346, 1348 (J.P.M.L. 2016).

                                                         10
